   Case 6:22-cv-00997-DAE             Document 113          Filed 05/02/25      Page 1 of 1



                        THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


  LOWER48 IP LLC,

  Plaintiff,

                         v.
                                                    Case No. 6:22-cv-00997-DAE
  SHOPIFY INC.,

  Defendant.


             JOINT AMENDMENTS TO SCHEDULING ORDER DEADLINES

         In light of the Court’s ruling during the April 28, 2025 sealed discovery hearing, the

Court ORDERS that the following deadlines in the above-referenced cause are amended, as

follows:

 Deadline                          Current                          Proposed Date
 Opening expert reports            May 9, 2025                      May 30, 2025
 Rebuttal expert reports           July 18, 2025                    August 8, 2025
 Complete expert discovery         August 15, 2025                  September 5, 2025


         SIGNED: May 2, 2025.




                                     HON. DAVID ALAN EZRA
                                     SENIOR UNITED STATES DISTRICT JUDGE




4912-6004-7165
